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10
11                            UNITED STATES DISTRICT COURT
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13   UNITED STATES OF AMERICA,                      No. CR 2:24-cr-00091-ODW
14               Plaintiff,                         GOVERNMENT’S REPLY IN SUPPORT
15                      v.                          OF MOTION FOR A PROTECTIVE
                                                    ORDER PURSUANT TO SECTION 3 OF
16   ALEXANDER SMIRNOV,                             THE CLASSIFIED INFORMATION
17               Defendant.                         PROCEDURES ACT
18                                                  Hearing Date:      September 9, 2024
19                                                  Hearing Time:      1:30 p.m.
                                                    Location:          Courtroom of the Hon.
20                                                                     Otis D. Wright II
21
22         The United States of America, by and through its counsel of record, hereby submits
23   this reply brief in support of its Motion for a Protective Order Pursuant to Section 3 of the
24   Classified Information Procedures Act, ECF No. 96. To specifically address an issue
25   raised in Defendant’s opposition papers, the Government is also filing (on today’s date) a
26   classified supplement to this reply brief; the classified supplement will be filed
27   electronically with the Classified Information Security Officer, W. Scooter Slade.
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 1
 2   Dated: August 26, 2024            Respectfully submitted,
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Pursuant to the Court’s order granting the Government’s motion under Section 4
 4   of the Classified Information Procedures Act (“CIPA”) and Federal Rule of Criminal
 5   Procedure 16(d)(1), the Government is ready to produce a limited amount of classified
 6   discovery to Defendant’s cleared counsel. The only thing holding up that production of
 7   classified information is Defendant’s objection to the entry of a protective order that
 8   governs the handling, disclosure, and use of classified information.
 9         After good faith negotiations over the terms of a protective order broke down, the
10   Government moved for a protective order (the “Proposed Protective Order” or “PPO”).
11   The Government moved for such an order pursuant to the general supervisory powers of
12   the Court, Section 3 of CIPA, the Revised Security Procedures Established Pursuant to
13   Pub. L. 96-456, 94 Stat. 2025, by the Chief Justice of the United States for the Protection
14   of Classified Information (reprinted after Section 9 of CIPA), and Rules 16 and 57 of the
15   Federal Rules of Criminal Procedure. The Proposed Protective Order contains a number
16   of reasonable, circumscribed measures aimed at preventing the unauthorized disclosure
17   or retention of classified information. For example, the Proposed Protective Order (1)
18   provides that any classified information produced by the Government to cleared defense
19   counsel “shall be stored, maintained and used only in the Secure Area established by the
20   CISO, unless otherwise authorized by the CISO,” PPO ¶ 23(a); (2) prohibits defense
21   counsel from disclosing classified information to “any person, except the Court,
22   government personnel who hold appropriate security clearances and have been
23   determined to have a need-to know that information, and those specifically authorized to
24   access that information pursuant to this Order or any future Order of the Court,” PPO ¶
25   7; (3) prohibits defense counsel, who will be given access to classified discovery, “from
26   making public or private statements where the statements would reveal personal
27   knowledge from non-public sources regarding the classified status of the information,”
28   PPO ¶ 9; and (4) directs the parties to follow the procedures prescribed by CIPA
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 1   governing the use of classified information in a criminal litigation, PPO ¶ 22, including
 2   Section 5, which requires the defense to provide advanced notice “[i]f [he] reasonably
 3   expects to disclose or cause the disclosure of classified information in any manner in
 4   connection with any trial or pretrial proceedings involving the criminal prosecution of
 5   such defendant,” 18 U.S.C. App. III, § 5.
 6         Defendant challenges two provisions of the Proposed Protective Order, claiming
 7   that these provisions violate rights guaranteed by the First and Sixth Amendments to the
 8   Constitution. ECF No. 101, at 5–8. Before delving into the specifics of those challenges,
 9   it bears noting that Defendant’s arguments disregard entirely the context surrounding the
10   Government’s disclosure of classified information in this case. That context includes:
11      1. Defendant does not have, nor has he ever had, a security clearance (meaning,
12         among other things, that he has never been assessed for suitability to handle
13         classified information);
14      2. Defendant does not know all of the classified information that will be produced in
15         classified discovery to defense counsel (a representation Government counsel
16         made to defense counsel in seeking to reach an agreement on the terms of a
17         protective order);
18      3. By his own admission, Defendant has ties to a hostile foreign intelligence service,
19         see ECF No. 11, at 10–17; and
20      4. Because Defendant is a flight risk, he is detained pending trial.
21   This context is critical to the Government’s motion for a protective order, and it augurs
22   in favor of entering the Proposed Protective Order as written.
23         Turning to the specifics of Defendant’s challenges, he first challenges the provision
24   of the protective order (PPO ¶ 6) which authorizes the Government to limit, in the first
25   instance, which classified discovery can be shared with Defendant (as opposed to cleared
26   defense counsel, who will receive in the first instance all of the classified discovery
27   pursuant to the Court’s CIPA Section 4 ruling). ECF No. 101, at 2–3. The Court should
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 1   reject this challenge because restrictions on a defendant’s access to classified discovery
 2   are supported by case law and, in any event, Defendant’s argument on this matter is
 3   premature. Under the express terms of the Proposed Protective Order, Defendant may
 4   seek relief from the Court if defense counsel subsequently determine that they need to
 5   discuss certain items of classified discovery with Defendant; it is incorrect that Defendant
 6   would have to disclose his defense strategy to the Government to obtain relief. Given
 7   this ability to seek court intervention at a later date, the Government submits that the
 8   prudent course is to facilitate the disclosure of classified discovery to defense counsel,
 9   who should review and assess that discovery before seeking a court order forcing the
10   disclosure of classified discovery to Defendant, who has never had a security clearance
11   and does not already know all of the information.
12         Defendant also challenges the provisions of the protective order that place limits
13   on Defendant’s ability to use information that he “knows or reasonably should know
14   contains classified information,” even if he came to know such information through
15   means other than the Government’s discovery, PPO ¶ 2(c)(iv) (defining “classified
16   information” under the terms of the PPO), PPO Addendum – Memorandum of
17   Understanding Regarding Receipt of Classified Information (hereinafter, “MOU”). See
18   ECF No. 101, at 2–3, 8–9. Defendant claims a provision of the MOU effectively prohibits
19   him from disclosing classified information and “does not provide any exception to
20   classified information that is already in Defendant’s possession or within his knowledge
21   . . . .” Id. at 3. This argument depends on a selective quotation of the relevant MOU
22   provision and a flawed understanding of the Proposed Protective Order. While the MOU
23   provision is a general bar on the disclosure of any classified information, regardless of
24   how Defendant came to know it, it permits such disclosures “as expressly authorized by”
25   the Proposed Protective Order; and Paragraph 5 of the Proposed Protective Order, which
26   Defendant does not even reference in his opposition, expressly authorizes Defendant to
27   disclose to his attorneys any classified information relating to this case so long as the
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 1   disclosures are made in a “secure area” as designated by the Classified Information
 2   Security Officer. In other words, while Defendant’s brief strongly suggests he is inhibited
 3   from making disclosures to his attorneys, that suggestion is misleading—the Proposed
 4   Protective Order merely limits how and where he can make such disclosures. Given that
 5   this prophylactic measure is narrowly tailored to further the government’s interest in
 6   safeguarding classified information, Defendant’s First Amendment challenge fails.
 7          Because the terms of the Proposed Protective Order are reasonable and narrowly
 8   tailored to meet the context of this case, and also permit Defendant to later seek court
 9   intervention to address particular issues, the Court should enter the Proposed Protective
10   Order as written.1
11   II.    ARGUMENT
12              a. CIPA and Other Restrictions on a Defendant’s Ability to Disclose
13                 Classified Information
14          CIPA contains a number of provisions aimed at preventing unnecessary and
15   unauthorized disclosures of classified information. Among other things, these provisions
16   make clear that a federal criminal defendant does not have unfettered discretion, in the
17   context of classified information, to say whatever he wants, wherever he wants.
18          Section 3 of CIPA provides statutory authority for a court to enter a protective order
19   protecting against the disclosure of classified information in a criminal case. “[A] CIPA
20   § 3 Protective Order is designed to protect against disclosure by the defense.” United
21   States v. Foggo, No. 1:08CR79 (JCC), 2008 WL 2388282, at *3 (E.D. Va. June 9, 2008).
22   Section 3 provides: “Upon motion of the United States, the court shall issue an order to
23   protect against the disclosure of any classified information disclosed by the United States
24   to any defendant in any criminal case in a district court of the United States.” 18 U.S.C.
25   App. III, § 3.
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27             The Government is filing with the Classified Information Security Officer (on August 26, 2024)
     a classified supplement to this reply brief. The classified supplement is necessary to address an issue
28   raised in Defendant’s opposition papers.
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 1         Recognizing that a criminal defendant who knows or possesses classified
 2   information—either through the government’s discovery or some other means outside of
 3   the case—may seek to use such information in connection with his or her case, CIPA
 4   Sections 5 and 6 operate as guardrails against surprise disclosures of classified information
 5   by criminal defendants. Section 5, a notice provision, provides:
 6         If a defendant reasonably expects to disclose or to cause the disclosure of
 7         classified information in any manner in connection with any trial or pretrial
 8         proceeding involving the criminal prosecution of such defendant, the
 9         defendant shall, within the time specified by the court or, where no time is
10         specified, within thirty days prior to trial, notify the attorney for the United
11         States and the court in writing. Such notice shall include a brief description
12         of the classified information. . . . No defendant shall disclose any information
13         known or believed to be classified in connection with a trial or pretrial
14         proceeding until notice has been given under this subsection and until the
15         United States has been afforded a reasonable opportunity to seek a
16         determination pursuant to [CIPA Section 6] . . . .
17   18 U.S.C. App. III, § 5(a). “If the defendant fails to comply with the requirements of
18   subsection (a) [of Section 5] the court may preclude disclosure of any classified
19   information not made the subject of notification. . . .” Id.
20         Under CIPA Section 6, the court “make[s] all determinations concerning the use,
21   relevance, or admissibility of classified information that would otherwise be made during
22   the trial or pretrial proceeding.” Id. § 6(a). Sections 6 and 7 contain additional safeguards
23   pertaining to the disclosure of classified information. Among other safeguards, if the court
24   “authoriz[es] the disclosure of specific classified information” by the defense, Section 6
25   provides that the government “may move that, in lieu of disclosure of such specific
26   classified information, the court order” the substitution of either “a summary of the
27   specific classified information” or “a statement admitting relevant facts that the specific
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 1   classified information would tend to prove.” Id. § 6(c)(1).
 2         In short, these provisions of CIPA make clear that, in the context of a federal
 3   criminal prosecution, a defendant does not have free rein to disclose classified information,
 4   including information that he came to know through means other than the government’s
 5   discovery. It bears noting that the Federal Rules of Evidence and federal criminal law also
 6   serve as constraints on a defendant’s ability to disclose classified information:          A
 7   defendant testifying in his own defense is constrained by the Rules of Evidence; and all
 8   individuals can be subjected to prosecution for willfully disclosing national defense
 9   information, see 18 U.S.C. § 793(d).
10             b. Defendant’s Challenges Largely Rest on Flawed Interpretations of the
11                PPO
12         Defendant’s opposition implicates several provisions of the Proposed Protective
13   Order, which are reproduced below for convenience. Notably, several of these provisions
14   were not even referenced in Defendant’s opposition papers.
15      • Paragraph 1: Provides, among other things, that “[t]hese procedures [established
16         by the Proposed Protective Order] will apply to all pretrial, trial, post-trial, and
17         appellate matters concerning classified information and may be modified from
18         time to time by further Order of the Court acting under its inherent supervisory
19         authority to ensure a fair and expeditious trial. Either party may move for a
20         modification of this Order at any time for good cause shown.” (Emphasis
21         added).
22      • Paragraph 5: “The government, facilitated by the CISO, may disclose classified
23         information to cleared defense counsel in an appropriate secure area.           If the
24         Defendant is aware of classified information relating to this case, the Defendant
25         may also disclose such classified information to cleared defense counsel in an
26         appropriate secure area as necessary for the preparation of his defense. The
27         defense may not disclose or cause to be disclosed in connection with this case any
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 1        information known or reasonably believed to be classified information except as
 2        otherwise provided herein. Any classified information provided to cleared defense
 3        counsel by the government or the Defendant is to be used solely by the defense and
 4        solely for the purpose of preparing the defense in this case.” (Emphasis added).
 5     • Paragraph 6: “The defense may not disclose classified information to the Defendant
 6        unless the government has approved its display to the Defendant and marked it ‘For
 7        Display to ALEXANDER SMIRNOV, in United States v. Smirnov, 2:24-cr-0091.’
 8        Classified information that the government discloses to cleared defense counsel
 9        shall not be shared with the Defendant unless it is marked ‘For Display to
10        ALEXANDER SMIRNOV, in United States v. Smirnov, 2:24-cr-0091.’ Cleared
11        defense counsel may not confirm or deny to the Defendant assertions made by the
12        Defendant based on knowledge cleared defense counsel obtained from classified
13        information unless the government has authorized that classified information to be
14        displayed to the Defendant pursuant to this Order. Any classified information
15        cleared defense counsel displays to or discusses with the Defendant in any way
16        shall be handled in accordance with this Order, or any future Order, and the
17        attached Memorandum of Understanding, including such requirements as
18        confining all such discussions, documents, and materials to a Secure Area.”
19     • Addendum – Memorandum of Understanding Regarding Receipt of Classified
20        Information: “(1) I agree that I shall never divulge, publish, or reveal either by
21        word, conduct or any other means, such classified documents and information
22        unless specifically authorized in writing to do so by an authorized representative of
23        the United States Government; or as expressly authorized by the Court pursuant
24        to the Classified Information Procedures Act and the Protective Order entered
25        in United States v. Smirnov, 2:24-cr-00091, in the United States District Court
26        for the Central District of California.” (Emphasis added).
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 1         Defendant’s first issue is that, pursuant to Paragraph 6, the Government may limit,
 2   in the first instance, which classified discovery can be shared with Defendant.
 3         In this case, the Government intends to produce, in the first instance, the Court-
 4   approved classified summaries to defense counsel alone. Defendant (through counsel)
 5   argues that “for the Defendant to be potentially granted access to classified information
 6   discovery that the government has not unilaterally deemed him fit to view, Defendant’s
 7   counsel must communicate a basis upon which the Defendant should be permitted to have
 8   expanded access to the restricted discovery,” which, they say, “necessitate[s] a divulging
 9   of work product,” ECF No. 101, at 7, and “its defense strategy,” id. at 3. This argument
10   fails for several reasons.
11         As noted in the introduction, Defendant’s insistence that all classified discovery be
12   made immediately available not only to his cleared attorneys but also to him personally—
13   even though he has no security clearance, does not know all of the information in the
14   discovery, and resides in a detention facility—ignores the context of the Government’s
15   disclosure of classified information. This critical context supports limiting—at least in the
16   first instance—the disclosure of classified discovery to cleared defense counsel.
17         Defendant acknowledges that “a defendant’s rights may need to be satisfied by
18   something less than complete disclosure of classified discovery . . . .” ECF No. 101, at 5.
19   Indeed, many courts, including the Ninth Circuit, have upheld—upon balancing the
20   defendant’s rights with the government’s national security interests—the practice of
21   limiting what classified discovery is provided to the defendant himself. See United States
22   v. Alahmedalabdaloklah, 94 F.4th 782, 811 (9th Cir. 2024) (“Oklah recognizes that our
23   precedent forecloses the argument that his constitutional rights were violated because he
24   and his counsel were not present at several CIPA hearings, and because his counsel was
25   prohibited from sharing or discussing certain ‘Secret’-level documents with him, . . . but
26   he questions whether the Government complied with CIPA in other respects.” (internal
27   citation omitted)); In re Terrorist Bombings of U.S. Embassies in East Africa, 552 F.3d
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 1   93, 116–122 (2d Cir. 2008) (“By conditioning access to classified information on a
 2   security clearance requirement that El–Hage could not meet, the protective order entered
 3   by the District Court . . . effectively barred El–Hage from personally reviewing the
 4   classified material produced by the government. El–Hage claims that these limitations
 5   deprived him of access to discoverable information to which he was entitled.” Affirming
 6   district court’s decision to restrict classified discovery to only those who could obtain a
 7   security clearance.); United States v. Abu Ali, 528 F.3d 210, 245 (4th Cir. 2008) (“A
 8   defendant’s right to see the evidence that is tendered against him during trial, however,
 9   does not necessarily equate to a right to have classified information disclosed to him prior
10   to trial.”); United States v. Bin Laden, No. S(7) 98 Cr. 1023 LBS, 2001 WL 66393, at *8
11   (S.D.N.Y. 2001) (“In addition, given the fact that the Defendant’s attorneys have seen the
12   classified information at issue, it is not clear why El-Hage will actually suffer any such
13   detriment.”), aff’d sub nom. In re Terrorist Bombings, 552 F.3d 93; United States v. Rezaq,
14   156 F.R.D. 514, 524–25 (D.D.C. 1994) (“The protective order, which generally limits
15   disclosure to Mr. Rezaq’s counsel, avoids that harm without prejudicing his defense. Even
16   without Mr. Rezaq’s personal knowledge of national secrets at issue, defendant’s counsel
17   can construct most of his defense perfectly well. The sensitive information is generally
18   more useful to his counsel than to him, since it is being sought more to support his legal
19   defenses than to rebut any facts . . . .”).
20          As several of these courts have recognized, there is an even more fundamental flaw
21   in Defendant’s challenge to the provision of the Proposed Protective Order limiting
22   classified discovery to cleared defense counsel in the first instance: It is effectively
23   premature; defense counsel, upon reviewing the classified discovery, may seek relief
24   from the Court if they feel that their ability to prepare a defense is somehow inhibited
25   by the terms of the protective order. Indeed, Paragraph 1 of the Proposed Protective
26   Order provides that “[e]ither party may move for a modification of this Order at any
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 1   time for good cause shown.”2 In Rezaq, the United States District Court for the District
 2   of Columbia cited such a provision in support of its decision to enter a similar protective
 3   order. 156 F.R.D. at 524 & n.18 (“Under [the terms of the protective order], defendant’s
 4   counsel may seek the court’s permission to disclose certain evidence to defendant, and the
 5   United States may oppose such disclosure.”). In short, Defendant is simply wrong in
 6   asserting that “in order for the Defendant’s counsel to have their client review additional
 7   classified material (that is, classified material that the government has not already
 8   unilaterally determined the Defendant can view), the Defendant must reveal its defense
 9   strategy to the government”; as contemplated by the Proposed Protective Order, defense
10   counsel could seek authorization from the Government to display or discuss certain
11   classified information with their client, but they also retain the ability to seek relief from
12   the Court “for good cause shown.”3
13          This same analysis applies to Defendant’s other challenge to Paragraph 6, which
14   prohibits his lawyers from “confirm[ing] or deny[ing] to the Defendant assertions made
15   by the Defendant based on knowledge cleared defense counsel obtained from classified
16   information unless the government has authorized that classified information to be
17   displayed to the Defendant pursuant to this Order.” See Bin Laden, 2001 WL 66393, at
18   *4 (rejecting defendant’s “claims that the nondisclosure provisions of the Protective Order
19   prevent him from consulting with his attorneys” in violation of the Sixth Amendment).
20   This argument is really no different than Defendant’s first argument; if defense counsel
21   were able to confirm the existence and classified status of specific information provided
22   to them by Defendant, they are, for all intents and purposes, disclosing classified
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               Although Defendant may seek relief from the Court on this front, it bears repeating that the
24   decision whether to disclose classified information to anyone is committed to the Executive Branch alone.
     Dep’t of the Navy v. Egan, 484 U.S. 518, 528–29 (1988). Thus, although district courts have the power
25   to order, after conducting an appropriate analysis under CIPA, disclosure of certain information, district
     courts are not authorized to disclose unilaterally any classified information to a defendant.
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               Should defense counsel decide to seek authorization from the Government to display or discuss
27   certain information, the prosecution team would then consult with the relevant equity holder who controls
     the information. It is not the prosecution team that unilaterally decides what classified information may
28   be disclosed.
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 1   information to him. In the national security context, there is a difference between
 2   information “being out there” without confirmation and the same information being
 3   confirmed by someone who holds a security clearance. As discussed both above and
 4   below, the Proposed Protective Order as written (1) contemplates cleared defense counsel
 5   receiving classified discovery; and (2) permits Defendant to make full, uninhibited
 6   disclosures to his attorneys of any information in his head. If, after reviewing and
 7   assessing the classified discovery, and potentially litigating its admissibility at trial,
 8   defense counsel feel that their ability to prepare a defense is impaired by the terms of the
 9   protective order, they can seek a modification under Paragraph 1.4
10          Defendant also takes issue with the reasonable guardrails the Proposed Protective
11   Order places on the flow of classified information between Defendant and his attorneys.
12   ECF No. 101, at 5, 8–9. In particular, Defendant challenges the requirement that he sign
13   a Memorandum of Understanding which states, in part, that he “agree[s] that [he] shall
14   never divulge, publish, or reveal either by word, conduct or any other means, such
15   classified documents and information unless” (1) specifically authorized in writing to do
16   so by the government or (2) “as expressly authorized by the Court” pursuant to the terms
17   of the Proposed Protective Order. ECF No. 101, at 3; MOU ¶ 1. According to Defendant,
18   “[t]his provision does not provide any exception to classified information that is already
19   in Defendant’s possession or within his knowledge, in an unrestricted capacity . . . .” ECF
20   No. 101, at 3. He contends that “[he] and his counsel are unaware of the Defendant having
21   ever been asked to sign any type of confidentiality agreement,”5 and that “[t]he
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                Of course, the Government reserves the right to oppose such a modification. In the event
23   Defendant does seek a modification, Rezaq and Bin Laden both inherently recognize that there is some
     burden on the defense to demonstrate why limiting the disclosure of classified information to Defendant
24   is prejudicial. Rezaq, 156 F.R.D. at 524–25; Bin Laden, 2001 WL 66393, at *4. “The harm to the
     defendant” must be more than “speculative at best.” Bin Laden, 2001 WL 66393, at *4.
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               In the event Defendant has signed such an agreement, the existence of such an agreement would
26   likely defeat his First Amendment claim. See, e.g., United States v. Marchetti, 466 F.2d 1309, 1315–19
     (4th Cir. 1972) (rejecting First Amendment “prior restraint” challenge by former CIA employee where
27   the former employee had signed a confidentiality agreement; noting “the Government’s need for secrecy
     in this area lends justification to a system of prior restraint against disclosure by employees and former
28   employees of classified information”).
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 1   government is now attempting to restrain and restrict the Defendant related to information
 2   that he already possesses.” Id. at 3–4. According to Defendant, “[t]his restriction is a
 3   prior restraint that is prohibited under the First Amendment.” Id. at 4.
 4         To address the merits of this argument, it is important to discuss what the Proposed
 5   Protective Order does and does not do. Paragraph 5 of the Proposed Protective Order—
 6   which Defendant neither discusses nor cites—expressly permits Defendant to share
 7   information with cleared defense counsel even if he (a) obtained that information
 8   outside of the context of this prosecution and (b) reasonably knows that information
 9   is classified. Paragraph 5 provides: “If the Defendant is aware of classified information
10   relating to this case, the Defendant may also disclose such classified information to cleared
11   defense counsel in an appropriate secure area as necessary for the preparation of his
12   defense.” PPO ¶ 5. This express authorization is critical because, when read together with
13   the challenged provision of the MOU, it is clear that Defendant may “divulge, publish, or
14   reveal” classified information to his cleared attorneys so long as (a) the conversations take
15   place in a “secure area” as designed by the CISO and (b) the sharing of such information
16   is “necessary for the preparation of his defense.” PPO ¶ 5. So long as those conditions
17   are met, such sharing is “expressly authorized by the Court pursuant to” the Proposed
18   Protective Order, MOU ¶ 1. What the Proposed Protective Order does, then, is require
19   that the sharing of information Defendant reasonably knows is classified be conducted in
20   a secure area that is designated by the CISO. What the Proposed Protective Order does
21   not do is prohibit Defendant from sharing any information he sees fit from his attorneys.
22         In light of the extremely limited and reasonable way Defendant is constrained in his
23   communications, the Government submits that the Proposed Protective Order passes
24   constitutional muster. The constraints in the Proposed Protective Order are narrowly
25   tailored to further a compelling government interest. Cf. In re National Security Letter,
26   33 F.4th 1058, 1072 (9th Cir. 2022) (“[K]eeping sensitive information confidential in
27   order to protect national security is a compelling government interest.” (citing Dep’t of the
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 1   Navy, 484 U.S. at 527)).6
 2   III.   CONCLUSION
 3          For the reasons stated above, the Court should enter the Proposed Protective Order
 4   as written, see ECF No. 96.
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26            As the Government understands it, Defendant primarily is concerned with restrictions on his
     communications with counsel. To the extent his argument is broader than that, e.g., that he is constrained
27   from disclosing information he knows to third parties not involved in this litigation, the Government
     again notes that any contractual obligation Defendant might have to maintain confidentiality would carry
28   the day. But again, the Government does not understand Defendant to be making such a broad argument.
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